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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

   
  

(In the space above enter the full name(s) of the plaintiff). )

COMPLAINT

~against-
Demand Fo¥
fury 7 Trial: wes o.No
(check one)

 

 

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(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in .the space provided, _ oe
please write “see attached” in the space above and attach an , wt,

 

additional sheet of paper with the Sull list of names. The names eD
listed in the above caption must be identical to those contained in —t
Part J. Addresses Should not be included here.)

I. Parties in this complaint:

A. List your-name, address and telephone number. If you:are presently in custody, include your

identification number and the name and address of your current place of confinement. Do the same
for any additional plaintiffs named. Attach additional sheets of paper as necessary.

 
 

Plaintiff Name ophey Wwvoor stand

Street Address \g4x Kozen Week

County, City ic at Bak Elna
State & Zip Code _NPto YOYK, W370

Telephone Number (4\ l } % lo-2 7D4- Mom ‘Ss ( LA

 

B. List all defendants. You should state the full name of the defendant, even if that defendant i is a
government agency, an organization, a corporation, or an individual. Include ‘the address where
each defendant may be served. Make sure that the defendant(s) listed below are identical to those
contained in the above caption. Attach additional sheets of paper as necessary. .

 
 

Defendant No. 1 “Name Woy

Street Address Tee Zohthen Yaa

 

Rev. 05/2010
 

 
Defendant No. .2

Defendant No. 3

Defendant No. 4

 

State & Zip Code
Telephone Number

 

County, City BYorx lounty atst Ekmharst

 

Name (VovVelnrional Omer Sdintion £7808
Street Address ~“ZOR OVA KouleNayd
County, City _\4Vorn x (nT abst Elmnuir’-

State & Zip Code re New York 1370.

Telephone Number

 

 

 

 

CVA AL \ \ As ;
State & Zip Code NLS Yon W237e

Teléphone Number

Name Upton Waves t12,49

Street Address .

75-70 ASstovio Boul
County, City n> AN lmbwtst
State & Zip Code NejA York; 470 _. __.

Telephone Number

 

 

 

 

 

Basis for Jurisdiction: . \ See attathed

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court:
cases involving a federal question and cases involving diversity of citizenship of the parties. Under 28
U.S.C. § 1331, a case involving the United States Constitution or federal laws or treaties is a federal
question case. Under 28 U.S.C. § 1332, a case in which a citizen of one state sues a citizen of another
state and the amount in damages is more than $75, 000 is a diversity of citizenship case. .

What is the basis for federal court jurisdiction? (check ail that apply)
Federal Questions Diversity of Citizenship

Ifthe basis for jriediction i is Federal Question, what federal Constitutional, statutory or treaty right

 

 

 

 

Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.

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Neu York County, New Yov\ City

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NFidavit of Truth

 

 

 

 

  

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AC¥idavit of Truth

 

 

   

 

 

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You may wish to include further details such as the names 5 of other persons involved in the events giving
rise to your claims. Do not cite any Cases or statutes. If you intend to allege a number of related Claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary,

Where did the events giving rise to your claim(s) occur? Nevmon(.aintenet, —

tS for exalk Lolation

B. What date and approximate time did the events giving rise : to your aime) occur? AF iatident
eMeEMoeN \lo.ZOl7 noploximately 3.35 Jom % 27** \

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Iv. Injuries:

If you sustained injuries related to the events alleged above describe them and state what medical
trea if , any, you required and received. GW WES AOD MM _Oh

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20 Siiollen tasee Cunees ae Me mt ever Need 19 0 banda ¢ nFaved

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Rev. 05/2010

 

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ve Relief:
State what you want the Court to do for you and the amount of ‘monetary compensation, if any, you are

seeking, and the basis for such compensation. TLambecky O28 oY oaivetan by damages j
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‘Vt \ ry tf
I declare under penalty of perjury that the foregoing is true and correct.

Signed thisAS_ day of NoVemhex_, 2018.

Signature of Plaintiff
Mailing Address

 

 

 

 

 

 

Telephone Number

 

Fax Number (if you have one)

 

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners
must also provide their inmate numbers, present place of confinement, and address.

 

For Prisoners:
I deciare under penalty of perjury that on ‘this 2% day of Nolember _, 20%, I am delivering

this complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for
the Southern District of New York,

  

 

Signature of Plaintiff:

Inmate Number — Z4I } [ae ae

 

Rev. 05/2010
 

AO 440 (Rev. 12/09) Summons in a Civil Action .

UNITED STATES DISTRICT COURT

 

 

 

 

for the
. )
Plaintiff
ve. ) Civil Action No.
)
. )
Defendant )

SUMMONS IN A.CIVIL ACTION

' To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
~ P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

_ whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court. ue

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
 

 

 

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

° \
This summons for (ame of individual and title, if any)

 

was received by me on (date)

designated by law to accept service of process on behalf of (name of organization)

Date:

C) Ipersonally served the summons on the individual at (place)

 

on (date) 3; or

 

oO! left the summons at.the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or ©

[J I served the summons on (name of individual) . ‘ , who is

 

on (date) 5; Or |

 

© I returned the summons unexecuted because co . : or

 

C Other Gpecif):

My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, ete:
 

 

 

JS 44C/SDNY CIVIL COVER SHEET

REV. 5/2010 /
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the fillng and service of
pleadings or other papers as required. by law, except as provided by local rules of court. This form, approved by the
Judicie! Genferance of the United States in September 1974, is required for use of the Clerk of Court for the purpose of
initiating the civil docket sheet.

PLAINTIFFS DEFENDANTS

. \
ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER ATTORNEYS (IF KNOWN)

t

 

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

 

Has this or a similar case been previously filed in SDNY at any time? No?[] Yes? oO Judge Previously Assigned

 

 

 

 

 

1}]440 OTHER CIVIL RIGHTS

ifyes, was this case Vol] invol. [) Dismissed. NoL] Yes 1 _ifyés, give date __ & Case No.
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
ACTIONS UNDER STATUTES
TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
PERSONAL INJURY PERSONAL INJURY 1 ]610 AGRICULTURE { }422 APPEAL [ ]400 ST,
CONTRACT { ]620 OTHER FooDa 28 USC 158 REAPPORTIONMENT
. 1 }310 AIRPLANE (1362 PERSONAL INJURY - DRUG { ]}428 WITHDRAWAL [ }410 ANTITRUST
[ ] 110 INSURANCE [ }318 AIRPLANE PRODUCT MED MALPRACTICE [ ]625 DRUG RELATED 2B USC 157 1 ]430 BANKS & BANKING
[ 1120 MARINE [ }385 PERSONAL INU SEIZURE OF [ ]}450 COMMERCE
* |.) 430 MILLER ACT [ 3320 ASSAULT, LIBEL & PRODUCT UABLEY PROPERTY ]460 DEPORTATION
[ ] 140 NEGOTIABLE / SLANDER - _{]}988 ASBESTOS PERSONAL 21 USC 881 PROPERTY RIGHTS [ ]470 RACKETEER INFLU-
INSTRUMENT [ }330 FEDERAL : INJURYPRODUCT | }630 LIQUOR LAWS ENCED & CORRUPT
{ } 150 REGOVERY OF. EMPLOYERS’ LIABILITY 1640 RR& TRUCK []820 COPYRIGHTS ORGANIZATION ACT
OVERPAYMENT & LIABILITY . []650 AIRLINE REGS {]830 PATENT (RICO)
ENFORCEMENT OF []}940 MARINE PERSONAL PROPERTY [3660 OCCUPATIONAL { }840 [ ]480 CONSUMER CREDIT
: JUDGMENT {}]845 MARINE PRODUCT SAFETY/HEALTH {]490 CABLE/SATELLITE TV
{ }151 MEDICARE ACT LABILITY {1370 OTHER FRAUD [1690 OTHER. [ ]810 SELECTIVE SERVICE
[ ] 182 RECOVERY OF [ ]350 MOTOR VEHICLE {}371 TRUTH IN LENDING SOCIAL SECURITY [ ]650 SECURIMES/
DEFAULTED []355 MOTOR VEHICLE { }360 OTHER PERSONAL : COMMODITIES! °
STUDENT LOANS PRODUCT LIABILITY PROPERTY DAMAGE LASOR [ ]861 HIA (13995) - + EXCHANGE
(EXCL VETERANS) [ ]380 OTHER PERSONAL: {385 PROPERTY DAMAGE { ]862 BLACK LUNG (923) —s«[ 1875 CUSTOMER
[ 1153 RECOVERY OF INJURY _ PRODUCT LIABILITY []710 FAIR LABOR {17883 DIWCIDIWW (405()) CHALLENGE
OVERPAYMENT OF STANDARDSACT = { ]864 SSID TITLE XVi 12 USC 3410
VETERAN'S BENEFITS {1720 LABORIMGMT [ ]885 RSI (405(9)) [ ]890 OTHER STATUTORY
[ ] 160 STOCKHOLDERS SUITS RELATIONS
{ ]190 OTHER CONTRACT . []730 LABOR/MGMT [ ]691 AGRICULTURAL ACTS
[ ]195 CONTRACT PRODUCT , REPORTING & FEDERAL TAX SUITS { ] 892 ECONOMIC
LIABILITY / _ DISCLOSURE ACT STABILIZATION ACT
[ ]}198 FRANCHISE [1740 RANWAY LABOR ACT [ 1870 TAXES (U.S. Plaintiffor [ [693 ENVIRONMENTAL
ACTIONS UNDER STATUTES {]790 OTHER LABOR Defendant TERS
: LITIGATION [ ] 871 IRS-THIRD PARTY [ } 694
CIMIL RIGHTS PRISONER PETITIONS 1}791 EMPLRET INC 28 USC 7609 ALLOCATION ACT
REAL PROPERTY SECURITY ACT [ ]895 FREEDOMOF .
[1441 VOTING [ ]510 MOTIONS TO INFORMATION ACT
]210 LAND CONDEMNATION [ ]442 EMPLOYMENT VACATE SENTENCE IMMIGRATION { ]900 APPEAL OF FEE
]220 FORECLOSURE: 13443 HOUSING/ 20 USC 2255 DETERMINATION
]230 RENT LEASE & ACCOMMODATIONS [1530 HABEAS CORPUS [ ]482 NATURALIZATION UNDER EQUAL ACCESS
" EJECTMENT { ]444 WELFARE [ ] 835. DEATH PENALTY APPLICATION TO JUSTICE
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280 ALL OTHER 1)446 AMERICANS WITH . . ACTIONS
REAL PROPERTY , DISABILITIES -OTHER ,

 

Check if demanded in complaint:

[[] CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P. 23

DEMAND $

Check YES only if demanded in complaint
JURY DEMAND: CJ yes CJ No

IF SO, STATE:

OTHER JUDGE

 

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.?
DOCKET NUMBER

NOTE: Please submit at the time of filing an explanation of why cases are deemed related.

 
 

 

 
 

 

(PLACE AN X IN ONE BOX ONLY) -  QORIGIN

 

14 Original : [1] 2a. Remévee from C13 Remanded from L1J4 Relnstated or [J] & Transferred from [16 Multtisistnet [J 7 appeal to District
Proceeding State Court Appellate Court Reopened (Specify District) Litigation Judge from
‘LJ 2b.Removed from : Magistrate Judge
State Court AND Judgment
at least one
party is pro se. /
PIAGE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION . IF DIVERSITY, INDICATE
(1 u.s.pLaintirF. [2 u.S.DEFENDANT []3 FEDERAL QUESTION: [[]4 DIVERSITY . CITIZENSHIP BELOW.
v (U.S. NOT A PARTY) (28 USC 1322, 1441)

 

-_ CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF ” PTF DEF PTF DEF

CITIZEN OF THISSTATE . []1 {11 CITIZEN OR SUBJECT OF A £13 [33 INCORPORATED and PRINCIPALPLACE [}§ {15
~ FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE [12 [12 INCORPORATED of PRINCIPAL PLACE. «14.14 FOREIGN NATION Tye. £18

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

 

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

 

DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, 1 HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN THE

RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

 

Check one: THIS ACTION SHOULD BE ASSIGNED TO: [_] WHITE PLAINS [] MANHATTAN
(DO NOT check either box if this a PRISONER PETITION.) :

 

DATE SIGNATURE OF ATTORNEY OF RECORD. ADMITTED TO PRACTICE IN THIS DISTRICT

[} NO
{ ] YES (DATE ADMITTED Mo.______ Yr. __)
RECEIPT # Attomey Bar Code #

 

Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge : is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

 

 

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
 

 
  
 
  
 

TED STATES DISTRICT COURT
UTHERN DISTRICT OF NEW YORK

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‘pace above enter the full name(s) of the plaintiff(s)/petitioner(s),

Civ. C_)¢

Cheparnent of lvretiion’ AND REQUEST FOR
and Yosoitals

 

 

{In the space above enter the full name(s) of the defendant(s)/respondeni{s).) & See axtathed

Pursuant to Fed. R. Civ. P. 26(e), 33, 34 and 45, and Local Civil Rule 33.2, the defendants
hall answer, under oath, the following interrogatories, and produce copies of the following
ocuments, within 120 days of the service of the Complaint on any named defendant, at the
laintiff’s current address and at the Daniel Patrick Moynihan ‘United States Courthouse, Pro Se
ffice, 500 Pearl Street, Room 230, New York, N.Y. 10007,’ as indicated below.

These requests apply in Use of Force Cases, Inmate Against Inmate Assault Cases and
Disciplinary Due Process Cases, as defined below, in which the events alleged in the complaint are
alleged to have occurred while the plaintiff was in the custody of either the Department of
Corrections of the City of New York or the New York State Department of Correctional Services
( collectively “the Department”).

DEFINITIONS
1. “Use of Force Case” refers to an action in which the complaint alleges that any
employee of the Department used physical force against the plaintiff in violation of
the plaintiff's rights.
2. “Inmate against Inmate Assault Case” refers to an action in which the complaint

alleges that any defendant was responsible for plaintiff's injury resulting from
- physical contact with another inmate.

3. “Disciplinary Due Process Case” ’ refers to an action in which (i) the complaint
alleges that a defendant violated or permitted the violation of a constitutional right(s)
in a disciplinary proceeding against plaintiff, and (ii) the punishment imposed upon
plaintiff as a result of that proceeding was placement in a special housing unit for

 

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‘If within the 120-day period the defendant(s) moves for dismissal under Fed. R. Civ. P. 12(b) or 12(c), or
moves for summary judgment on grounds which would be dispositive of the action in toto, defendants shall respond
30 days from denial of such motion in whole or in part.

Rev. 05/2007 1

. against - . PLAINTIFF'S LOCAL CIVIL
RULE 33.2 INTERROGATORIES

PRODUCTION OF DOCUMENTS
 

     
 

 

Rev. 05/2007

 

more than 100 days.

“Incident” refers to the event or events described in the complaint. If the complaint
alleges a due process violation in the course of prison disciplinary proceedings,
“Incident” also refers to the event or events that gave rise tothe disciplinary
proceedings.

“Facility” refers to the correctional facilities where the Incident is alleged to have
occurred.

“Identify,” when applied to persons, shall mean:

(i) full name and current or last known address for service; and

(ii) | for Department employees, Department badge number or numbers, if any;

(iii) | for former or present inmates, any and all inmate identification numbers,
including “book and case,” “DIN” and “NYSID” numbers.

“Identify,” when used in connection witha civil or criminal proceeding shall mean:
the case name, court, docket number and date of commencement.

INSTRUCTIONS

All defendants represented by the Office of the Corporation Counsel of the City of
New York or the Office of the Attorney General are instructed to produce documents
(or copies thereof) and provide information in the defendants’ custody, possession
or control and documents and information in the custody, possession or control of
the Department. If the Department is not a party, documents and information shall
be produced as if a Rule 45 subpoena had been served on the Department. All .
responses are subject to the requirements of Fed. R. Civ. P. 26(e). Documents so
produced shall be Bates-stamped or otherwise numbered sequentially.

Whenever defendants or the non-party Department withhold any document or
portion thereof that is responsive to any of the document requests for reasons of
privilege or institutional security, counsel for defendants shall (i) obtain a copy of the
document (including audio tape, videotape, electronic recording or photograph) from
the appropriate agency or defendant and retain such document in counsel’s office
until the conclusion of the litigation; (ii) serve and file a (privilege) log in conformity
with Fed. R. Civ. P. 26(b)(5) or Local Civil Rule 26.2, setting forth the reason for
withholding the document; and (iii) make the withheld document available upon
request to the Court. If the document is withheld for reasons of institutional
discipline or security, rather than privilege, the document shall also be made
available to pro bono counsel, or to an interested attorney considering the court’s .
request for pro bono counsel, who shall maintain it im strict confidence and sign a
Confidentiality Agreement as provided by the Court. If security interests can be
addressed by redacting a portion of the document, the redacted document shall be
produced to plaintiff. Defendant may also take responsibility measures to enure that
Department letterhead, forms and stationery are not misused by plaintiff.
 

If any document responsive to this request exists in the form of a tape recording,
video recording or other electronic recording it shall be preserved until the
conclusion of the litigation. If a tape recording has not been transcribed, a copy of
such tape or electronic recording shall be produced, subject to any state law or
regulation barring access on grounds of security. If the tape, video or electronic
recording is not produced to plaintiff, defendant’s counsel shall retain the tape and
make it available upon request to the Court, pro bono counsel or any pro bono
attomey considering acceptance of the case. Any transcript shall be treated as any
other responsive document. ,

The documents responsive to requests’ through 1 1 shall be provided for a period of

ten years prior to the filing of the complaint, shall be provided to defendants’ counsel
within the 120-day responsive period and shall be maintained in defendants’
counsel’s office until the conclusion of the litigation. Such documents shall be
produced to the Court upon request or to pro bono counsel as provided in Instruction

_ 2. If documents responsive to requests 8 through 11 are not filed with the Pro Se

Office and are maintained in defendants’ counsel’s office, the submission that is filed
with the Pro Se Office shall so indicate. If the case proceeds to trial and plaintiff is
not represented, the Court shall address prior to trial the disclosure of. such
documents to plaintiff for use at trial.

INTERROGATORIES AND DOCUMENT REQUESTS

With respect to any disciplinary proceeding in which plaintiff alleges that he/she was
denied a constitutional right, produce all documents concerning the proceeding,
including: reports of infraction; notices of infraction; misbehavior reports; any
records reflecting informal interviews with the plaintiff or opportunities for the
plaintiff to object to his/her discipline or housing status related to his/her discipline;
disciplinary hearing records; hearing transcripts; infraction and/or hearing
disposition sheets; notices of administrative appeal and any accompanying

_ documents; and any decisions on administrative appeal.

Identify all Department employees who were present at, witnessed or investigated
the Incident or who at or about the time of the Incident were assigned to work in the
area where the Incident occurred (if such area is identifiable and discrete).
Identify all persons other than Department employees who were present at the
Incident.

Produce any and all of the following documents in the Department’s File prepared
by or at the direction of any employee of the City of New York, the State of New
York or any other governmental entity in connection with the Incident: incident
reports, intradepartmental memoranda (including memoranda sometimes referred to
as “to/froms”), use of force reports, unusual incident reports, witness statements,
injury to inmate reports, photographs, reports of infraction, notices of infraction,

’ dispositions of any infraction, misbehavior reports including documents in the file

of any inmate disciplined in connection with the incident.

 

2 an untranscribed tape shall be treated as provided for in Instruction 3.

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Produce all files, including each closing memorandum and summary, made in the
course of any completed investigation by the Department of Investigations,
Inspection General or Internal Affairs Division into the Incident. If the Incident or
the conduct of defendants involved in the Incident is the subject of an ongoing
investigation or a disciplinary proceeding, criminal investigation or outstanding
indictment or information, discovery under this request shall be suspended until the
termination thereof (whether by completion of the investigation without charges
being brought or by disposition of such charges). A response shall be due thirty (30)
days after such termination.

If Plaintiff alleges physical injury and has authorized release, produce records of all
medical treatment provided to the plaintiff in connection with such injury or claim.
If defendants seek to rely on plaintiff's pre-existing medical condition as a complete
or partial defense to any claim raised in the complaint, produce all records relating
to such pre-existing medical condition generated during his/her present and any prior
term of incarceration. (Plaintiff is advised that if he/she failed to provide a release
authorizing disclosure of medical records, the defendant may move to compel such
release or to dismiss some or all of plaintiff's claims). If production is miade
hereunder, identify all medical care providers assigned to work in the Facility clinic
on the date of the Incident and identify the signature or initials of each individual
who has imade an entry on reports or other writings prepared by the medical care
provider regarding the Incident or regarding the treatment of any person involved i in
the Incident.

If any defendant claims to have been physically injured in the Incident, produce all
records and claims of injury and all records of medical treatment provided to that
defendant in connection with such injury. If defendant refuses to give his/her

~ consent to the release of medical records as to which his/her consent to release is
‘required, defendant shall state whether he/she was treated at a prison facility, a clinic

or by a private doctor and-the date and place of each such treatment. If production
is made hereunder, identify all medical care providers assigned to work in the
Facility clinic on the date of the Incident and identify the signature or initials of each
individual who has made an entry on reports or other writings prepared by the
medical care provider régarding the Incident or regarding the treatment of any person
involved in the Incident.

For any defendant, other than for the Department Commissioner, any Deputy
Commissioner or Assistant Commissioner, Warden and ranks above, identify and
produce all documents concerning any employment-related proceeding, whether -
administrative, civil or criminal, in which the defendant formally was counseled,
disciplined, punished, or criminally prosecuted or otherwise made the subject of

~ remedial action in connection with having failed to make a report or having made a

false statement of any kind..

In a Use of Force Case, identify and produce all documents concerning any
employment-related proceeding, whether administrative, civil or criminal, in which
any defendant was formally.counseled, disciplined, punished, criminally prosecuted
or otherwise made the subject of remedial action in connection with having used

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Rev. 05/2007

force on an inmate.

In an Inmate against Inmate Assault case, identify and produce all documents

conceming any employment-related proceeding, whether administrative, civil or
criminal, in which any defendant was formally counseled, disciplined, punished or
criminally prosecuted or otherwise made the subject of remedial action in connection
with having failed to supervise inmates property or failed to fulfill any or his or her
responsibilities involving inmate safety.

8

. Ina Disciplinary Due Process case, identify and produce all documents concerming

any employment-related proceeding, whether administrative, civil or criminal, in
which any defendant was formally counseled, disciplined, punished, prosecuted or
otherwise made the subject of remedial action in connection with that defendant’s
participation in or conduct ofa disciplinary proceeding where it was alleged that the

defendant violated a Department regulation or a constitutional right of an inmate.

Produce from the plaintiff’s inmate file for the period of incarceration during which
the Incident arose (and any other City or State file for plaintiff if any defendant
intends to rely on any of its contents) all documents concerning any occasion that

plaintiff was subject to discipline. Ifthe disciplinary record is lengthy, the defendant

may, in the first instance, produce a computer printout of the inmate’s disciplinary
history.
 

CORRECTION DEPARTMENT
CITY OF NEW YORK
Pago 1 | Form: #167R-A

INJURY TO INMATE REPORT of — Rev. 04/31/08
. 2 Pages § Ref.: Dir. #4516R-A

 

   

 

 

 

 

 

INSTRUCTIONS: Original Report to Security, One copy to Clinic Lock Box, One Copy to Inmate Madlcal File.

mmand: Date: CODAJOF #: Inu
rennet WOBO G9 19 Mee | 44

TO BE COMPLETED BY EMPLOYEE (PLEASE PRINT CLEARLY).

inmate Name {Last Name, First Name): COMO Cac \ SkoOrarT
Logation: Work: NYSID #: Book & Case/Sent #:

SOO. (S55 BOOD [QuUitCOS SoG
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Supervisor Notified (Print Last Name, First Name, Rank, Shield #): Date: Time:
QvainieS, Capt * ud Qualia fAQi ue.
Employee: oO (oa (014 Not} Witness This Injury, En Moyea Signature: Rank/Title: Shield/D#:

 

 

TO BE COMPLETED BY MEDICAL STAFF ONLY - (PLEASE PRINT CLEARLY}
a

Date of Iniupy: | Reported fo ee Inmate Refused Medica! Attention: Visible tnjuries:
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es of injury SEED “ on a an Medical Staff Must Note
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Referrals to Other Medical Services (If ees Document Madical Findings): Jitves Co No

 

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ROT
Treated By/Examined By (Print and Sign Full Name ): Title:
ae Please Check CO Retum to oO Work Release Days DQ Light Duty Days Cl Return to Cc] Re-Exam Days CI Refer to Oo Retum to
Disposition: Housing Area Work Assignment * Elinic Schoat
tJ
Life Threatening Routi
Transfer to Hospital (indicate Name of Hospilal): CI Cmengency 0) “ne
5 a

Other (Please Spegify).-—.

 

 

eZ al

{ certify that the causa of injury as stated herein Is to my knowledge true and medical attention Was provided:

Inmate Signature 9 pat Myr To 31G 4) [Bac sentence #: Date: 6 hq ain
Witnessed By (Signature): Marr, RankiTie: 7 (4 Shield A.D. a: 9 2433 [Dated ain

 

 

 

 

 

 

 

 

 

 
 

 
 

CORRECTION DEPARTMENT
CITY OF NEW YORK

 

Page
of
2 Pages

 

INJURY TO INMATE REPORT

 

 

 

Form: #167R-A
Rev.: 01/34/08
Ret.: Dir, #4516R-A

 

 

 

INSTRUCTIONS: Original Report to Security, One copy to Clinic Lock Box, One Copy to Inmate Medical Fite. 5

 

CODAJOF #:

 

 

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TO BE GOMPLETED BY EMPLOYEE (PLEASE PRINT CLEARLY).

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inmate Name (Last Name, First Name): CO, ay) O, Ch res 700 J; err

 

 

 

 

 

Location: Work: BES 2006 T el loo. 57369
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Time:

 

 

 

 

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Supervisor Notified (Print Last Nam st Name, ao Shiai Dats: :
rent ge OT We p97 \OSUS wm
cmone (oid_] (Did Not) Witness This Injury. gnalure: Rank/Title:. Shield/ID#: :

 

 

 

70 BE COMPLETED BY MEDICAL STAFF ONLY - (PLEASE PRINT CLEARLY)

 

of Injury: Reported Inmate Refused Medical Attention:

 

  

Visible Injuries:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Treated ByExamtfied By (Print and Sign Full Nafrey

 

for Medical Attention:
his] Chie Date GF lilly Qt? firs, [7] Yes lo [J] Ne
Natdre of injury and Cause, ‘ ‘ Medical Staff Must Note
T Location of injury:
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y Aen ALG “\ wt ” —_ A
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Treatment: an t OU. 4.4 Os
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Referrals to Other Medical Services TFG ono Medical Findings): [7] ves [J No
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Treated By/Examined By (Print and Sign asap Thue: vi
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Please Check Site o Ne i Release Doys Light Duty Bays Return to Re
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Transfer to Hospital (indicate Name of Hospital): Emergency ° Crown A
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Other (Please Specify): Lael
Treated By (Print Full Name and Tite, Sign Name); A 7) Tl
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I certify that the cauge . injudyas gtpved herein

Inmate sianatwre Ly sed +e S, bay
Witnessed By (Signature); VY iy

is 40 my knowledge true aud medical attention was provided:

B&C / Sentence #: Q Yi} b OSS £9 a7) 77 2
Rank/Title: CY) | Shield /1.D. CWY Pay /) b/ / 7

 

 

 

 

 

 

 

 
Page 1 of 1

 

 

 

Vernon C. Bain Center Evan Brathwaite, MD
Barge 1 Halleck Street Bronx, NY 10474 Physician
Tel: 347-774-7000 Fax: 347-774-8088

Patient: CANO, CHRISTOPHER 11/28/2017
DOB: 08/28/1993, Sex: Male .

Address: 1140 ANDERSON, C43, BX, NY 10452

Phone:

 

Ordered Date: 09/16/2017

Assessments: Injury, unspecified

Lab: Ankie Right Ap, Oblique, Lateral (XRAY)
Fasting: No

Specimen:

Clinical info:

 

Name Value Reference Range

Result: , Refused
Received Date:
Notes: Mcfarland Danielle 9/20/2017 6:28:06 AM > pt refused the appt on 9/20/17, do not R/S pt

Patient Name: CANO, CHRISTOPHER , DOB: 08/28/1993

 

 

 

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Page 1 of 1

 

 

Vernon C. Bain Center
Barge 1 Halleck Street Bronx, NY 10474

Alexander Aronov, MD

Physician

Tel: 347-774-7000 Fax: 347-774-8088

 

Patient:
DOB:
Address:

Phone:

‘CANO, CHRISTOPHER

11/28/2017
08/28/1993, Sex: Male
1140 ANDERSON, C43, BX, NY 10452

 

Ordered Date:

Assessments: .

09/17/2017

Injury, unspecified

 

 

Lab: Facial Bones AP, Axial Zygoma, Lateral and Upright Waters View (XRAY)
Fasting: No

Specimen:

Clinical Info:

Name Value Reference Range
Result: Refused

Received Date:

Notes:

Mcfarland, Danielle 9/20/2017 6:26:09 AM > PT refused the appt on 9/20/17, do not R/S pt

 

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Patient Name: CANO, CHRISTOPHER , DOB: 08/28/1993

11/28/2017

 
Summary View for CANO, CHRISTOPHER

Page 1 of 1

 

 

HEALTH
HOSPITALS

CANO, CHRISTOPHER

NYSID: 13552006J BookCase: 2411605369
Facility Code: VCBC Housing Area: 3C/B/U
24¥Y old Male, DOB: 08/28/1993

Account Number: 333189

1140 ANDERSON, C43, BX, NY-10452

 

Insurance: Self Pay
Appointment Facility: Vernon C. Bain Center

 

09/16/2017

Current Medications

Taking

e Lithium Carbonate ER 450 MG Tablet
Extended Release Total Dose: 900 mg At
Bedtime, stop date 09/ 24/2017, Drug Source:
Pharmacy

e@ Abilify 10 MG Tablet Total Dose: 10 mg At
Bedtime, stop date 09/ 24/ 20 17, Drug Source:
Pharmacy

e Vistaril 50 MG Capsule Total Dose: 100
mgAt Bedtime, stop date 09/ 24/2017, Drug
Source: Pharmacy

@ {ibuprofen 400 MG Tablet Total Dose: 2
tabs Stat, stop date 09/ 16/2017, Drug Source:
Pharmacy

@ Ibuprofen 400 MG Tablet Total Dose: one
tab Every 8 Hours, stop date 09/ 21/2017,
Drug Source: Pharmacy

Past Medical History

SMI - NO

HX-MENTAL DISORDER NOS

Bipolar | disorder, most recent episode (or
current) depressed, unspecified

Bipolar | disorder, most recent episode (or
current) depressed, unspecified

Diagnosis deferred

Bipolar disorder, depressed

Allergies

Penicillin: anaphylaxis: Allergy
resperidaol: anaphylaxis: Allergy
lactose: diarrhea

Progress Notes: Kari Nunez, RN

Reason for Appointment
1. Stat Meds

History of Present Iliness
Notes::

NURSING ROS:
Pt was given | buprofen 800mg. Pt tolerated tx w/o incident &
voiced no complaint at this time. K NUNEZ RN.

Electronically signed by Kari Nunez, AA on 09/16/2017 at
09:39. PM EDT

Sign off status: Completed

 

Vernon C. Bain Center
Barge 1H alleck Street
Bronx, NY 10474
Tel: 347-774-7000
Fax: 347-774-8088

 

 

Patient: CANO, CHRISTOPHER

DOB: 08/28/1993 Progress Note: Kari Nunez,RN 09/16/2017

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11/28/2017
Summary View for CANO, CHRISTOPHER

Page 1 of 3

 

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HEALTH

 

HOSPITALS

Insurance: Self Pay

CANO, CHRISTOPHER

NYSID: 13552006J BookCase: 2411605369
Facility Code: VCBC Housing Area: 3B/A/
24Y old Maie, DOB: 08/28/1993

Account Number: 333189

1140 ANDERSON, C43, BX, NY-10452

Appointment Facility: Vernon C. Bain Center

 

09/16/2017

Appointment Provider: Evan Brathwaite, MD

Current Medications

Taking

e@ Lithium Carbonate ER 450 MG Tablet
Extended Release Total Dose: 900 mg At
Bedtime, stop date 09/ 24/2017, Drug Source:
Pharmacy

@ Abilify 10 MG Tablet Total Dose: 10 mg At
Bedtime, stop date 09/ 24/ 2017, Drug Source:
Pharmacy

e@ Vistari! 50 MG Capsule Total Dose: 100
mg At Bedtime, stop date 09/ 24/ 2017, Drug
Source: Pharmacy

Past Medical History

SMI - NO

HX-MENTAL DISORDER NOS

Bipolar | disorder, most recent episode (or
current) depressed, unspecified

Bipolar | disorder, most recent episode (or
current) depressed, unspecified

Diagnosis deferred

Bipolar disorder, depressed

Allergies

Penicillin: anaphylaxis: Allergy
resperidaol: anaphylaxis: Allergy
lactose: diarrhea

Reason for Appointment
4. Injury#436/ FY18

History of Present Hiness
TEMPLATES:

Rikers Injury Report

injury Report:
General

DOC Injury Report available? Yes /

DOC Injury Report #: 436 /
Event Location: Housing Area /
intentionality: /ntentional /
Cause: Inmate-on-inmate fight /

Verified Injury: Physical evidence of injury /
Did the patient have a blow to the head? No/
Did the patient ever lose consciousness? No/
Was the patient ever dazed and confused after injury? No/

Vital Signs

 

BP

 

L Arm: 137/67

09/ 16/20 17 08:58:20 PM
Eastern Standard Time

Kari Nunez

 

Pulse

 

88

09/ 16/2017 08:58:20 PM
Eastern Standard Time

Kari Nunez

 

RR

 

16

09/ 16/2017 08:58:20 PM
Eastern Standard Time

Kari Nunez

 

Temp

 

98.2

09/ 16/2017 08:58:20 PM
Eastern Standard Time

Kari Nunez

 

Peak Flow

 

450

09/ 16/2017 08:58:20 PM
Eastern Standard Time

Kari Nunez

 

$aO2

 

 

 

 

 

Patient: CANO, CHRISTOPHER DOB: 08/28/1993

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Progress Note: Evan Brathwaite, MD 09/16/2017

11/28/2017
Summary View for CANO, CHRISTOPHER Page 2 of 3

 

 

09/16/2017 08:58:20 PM .
100 Eastern Standard Time Kari Nunez
Pain scale
. 09/ 16/2017 08:58:20 PM .
bilat leg 6 Eastern Standard Time ‘ari Nunez

 

 

 

Examination
General Examination:

GENERAL APPEARANCE: well-developed, well-developed, well-
nourished, well-groomed, well-appearing.

HEENT: HEAD:.-, normocephalic, atraumatic.

ORAL CAVITY: normal, unremarkable.

NECK: GENERAL:-, supple.

HEART: PMI:-, normal.

CHEST: SHAPE AND EXPANSION:-, normal.

BREASTS: GENERAL:-, symmetric.

LUNGS: normal.

ABDOMEN: normal, normal without tenderness, masses, or
megaly. :

SKIN: normal.

EXTREMITIES: swelling lateral maleolus rt grade 1 sprain.

BACK: unremarkable.

NEUROLOGIC EXAM: non-focal exam.

Assessments
1. Injury, unspecified - 714.90

grade 1 ankle sprain on rt.

Treatment
1. Injury, unspecified
Start Ibuprofen Tablet, 400 MG, Total Dose: 2 tabs, Orally, Stat, 0
days, Drug Source: Pharmacy
Start Ibuprofen Tablet, 400 MG, Total Dose: one tab, Orally, Every 8
Hours, 5 days, Drug Source: Pharmacy
IMAGING: Ankle Right Ap, Oblique, Lateral (XRAY)
Referral To:Supplies Nursing Nursing Supplies
Reason:provide the patient with two cold paks

Disposition: General Population

Appointment Provider: Evan Brathwaite, MD

iz

 

 

Patient: CANO, CHRISTOPHER DOB: 08/28/1993 Progress Note: Evan Brathwaite, MD 09/16/2017
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Summary View for CANO, CHRISTOPHER Page 3 of 3

Electronically signed by Evan Brathwaite MD on 09/16/2017
at09:18 PM EDT

Sign off status: Com pleted

 

Vernon C. Bain Center
Barge 1 Halleck Street
Bronx, NY 10474
Tel: 347-774-7000
Fax: 347-774-8088

 

 

Patient: CANO, CHRISTOPHER DOB: 08/28/1993 Progress Note: Evan Brathwaite, MD 09/16/2017
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Patient Summary . Page 2 of 3

NYSID: 13552006) BookCase: 2411605369

CANO, CHRISTOPHER

1140 ANDERSON, C43, BX, NY 10452
‘ Primary Insurance:

DOB: 08/28/1993 Age: 24Y Sex: male — PCP:

Home: Account Number: 333189
Work:

Cell:

Email:

Advance Directive:

Allergies: Penicillin - anaphylaxis, resperidaol - anaphylaxis, lactose - diarrhea

 

Immunization not carried out for .
228.9 unspecified reason 09/01/2017 09/01/2017 Kang, Min Jung
i Ozo-Onyaili,
E73.1 Secondary lactase deficiency 09/14/2017 09/14/2017 Chukwudi
. ge: Aronov,
714.90 Injury, unspecified 09/16/2017 09/17/2017 Alexander
Lo . : Aronov,
R45.851 Suicidal ideations 09/17/2017 09/17/2017 Alexander
Procedure and treatment. not
carried out because of patient's
Z53.1 decision for reasons of belief and 09/20/2017 11/06/2017 Walker, Allen
group pressure
Effect of heat and light, : :
T67.9XXA unspecified, initial encounter 09/24/2017 09/24/2017 Antoine, Achille
Other effects of heat and light, : .
T67.8XXA initial encounter 09/24/2017 09/24/2017 Antoine, Achille
799.9 Diagnosis deferred : 09/25/2017 11/15/2017 Kyu, Khin
H52.13 Myopia, bilateral 09/25/2017 11/29/2017 Hyman, Barry
Other periradicular pathology
M27.59 associated with previous 9 10/03/2017 10/03/2017 Martin, Brian
endodontic treatment
873.63 BROKEN TOOTH 10/03/2017 10/24/2017 Martin, Brian
. . Right ais
Other benign neoplasm of skin, . Williams,
D23.9 unspecified feesna 10/10/2017 10/10/2017 Rhodina
Bipolar I disorder, Current or most
F31.2 recent episode manic, With 10/12/2017 10/12/2017 Wright, Janice
psychotic features :
F12.20 Cannabis use disorder, Moderate 10/12/2017 10/12/2017 Wright, Janice
F10.20 Alcohol use disorder, moderate 10/12/2017 10/12/2017 Wright, Janice
F14.20 Cocaine use disorder Moderate 10/12/2017 10/12/2017 Wright, Janice
K13.0 Diseases of lips 10/19/2017 10/19/2017 tee
B35.6 Tinea cruris 10/19/2017 10/19/2017 ley
H52.7 Unspecified disorder of refraction 10/31/2017 10/31/2017 ley
alleged j Gill
E885.9 | FALL FROM SLIPPING NEC slipped 10/31/2017 10/31/2017 lech eS,
and fall. esly
F20.9 Schizophrenia 10/31/2017 11/29/2017 Wright, Janice
F12.20 Cannabis use disorder, Severe remission 10/31/2017 11/29/2017 Wright, Janice
Fi10.20 Alcohol use disorder, severe - 10/31/2017 11/29/2017 Wright, Janice
Amphetamine-type substance use oo. . .
Fi5.20 disorder, moderate remission 10/31/2017 11/29/2017 Wright, Janice
F14.10 Cocaine use disorder Mild 10/31/2017 11/29/2017 Wright, Janice

 

 

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Summary View for CANO, CHRISTOPHER

Page 1 of 2

 

 

 

HEALTH
HOSPITALS

CANO, CHRISTOPHER

NYSID: 13552006J BookCase: 2411605369
Facility Code: BKDC Housing Area: 6B
24Y old Male, DOB: 08/28/1993

Account Number: 333189

1140 ANDERSON, C43, BX, NY-10452

 

Insurance: Self Pay
Appointment Facility: Brooklyn Detention Center

 

11/14/2017

Current Medications

Taking

@ Multivitamin Adult - Tablet Total Dose:
one tab Daily, stop date 11/ 18/2017, KOP: No,
Drug Source: Pharmacy

e Lithium Carbonate ER 450 MG Tablet
Extended Release Total Dose: 900mg At
Bedtime, stop date 11/28/2017, KOP: No,
Drug Source: Pharmacy-Non Carry

e Abilify 10 MG Tablet Total Dose: 10mg At
Bedtime, stop date 11/28/2017, KOP: No,
Drug Source: Pharmacy-Non Carry

@ Vistaril 50 MG Capsule Total Dose:
100mg At Bedtime, stop date 11/ 28/2017,
KOP: No, Drug Source: Pharmacy-Non Carry
e Lithium Carbonate ER 450 MG Tablet
Extended Release Total Dose: 300mg At
Bedtime, stop date 12/04/2017, KOP: No,
Drug Source: RN/ LPN DOT

@ Abilify 10 MG Tablet Total Dose: 10mg At
Bedtime, stop date 12/04/2017, KOP: No,
Drug Source: RN/LPN DOT

e@ Vistaril 50 MG Capsule Total Dose:
100mg At Bedtime, stop date 12/04/2017,
KOP: No, Drug Source: RN/LPN DOT

Past Medical History

SMI - NO

Bipolar | disorder, most recent episode (or
current) depressed, unspecified

Bipolar | disorder, most recent episode (or
current) mixed, severe, specified as with
psychotic behavior

Bipolar | disorder, most recent episode (or
current) depressed, unspecified

Bipolar | disorder, most recent episode (or
current) manic, severe, specified as with
psychotic behavior

Allergies

Penicillin: anaphylaxis: Allergy
resperidaol: anaphylaxis: Allergy
lactose: diarrhea

Appointment Provider: Brian Martin, DDS

Reason for Appointment
1. F/U #9 COMP (C2)

History of Present Iliness
Dental Exams:
GENERAL DENTISTRY PROCEDURES
Restorative Surfaces: 7

Examination

General Examination:
ORAL CAVITY: TEETH:, dental caries cervical buccal 9.

Assessments
1. Dental caries on pit and fissure surface penetrating into dentin -
K02.52 (Primary)

Treatment

1. Dental caries on pit and fissure surface penetrating into
dentin

Notes: ohi; written consent obtained

tx: under 1.8 cc 2% lido with 1:100k epi; removed decay without pulp
exposure; resin restoration done; no occlusal interferences, post op
instructions explained/ understood.

Appointment Provider: Brian Martin, DDS

 

Electronically signed by Brian Martin , DDS on 11/14/2017 at
11:07 AM EST

 

 

Patient: CANO, CHRISTOPHER

DOB: 08/28/1993 ProgressNote: Brian Martin, DDS 11/14/2017

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11/28/2017
Summary View for CANO, CHRISTOPHER Page 2 of 2

Sign off status: Completed

 

Brooklyn Detention Center
275 Atlantic Avenue
Brooklyn, NY 11201

Tel: 347-774-7000
Fax: 347-774-8088

 

 

Patient: CANO, CHRISTOPHER DOB: 08/28/1993 ProgressNote: Brian Martin, DDS 11/14/2017

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